Case 2:17-cr-14047-DMM Document 3 Entered on FLSD Docket 06/02/2017 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 17-60-WM


 UNITED STATES OF AMERICA,

       Plaintiff,

 vs.

 SCOTT JOSEPH TRADER,

       Defendant.
 _________________________________/

                           NOTICE OF ASSIGNMENT

       The above captioned case has been assigned to the Assistant Federal Public

 Defender specified below. Please send all notices and inquires to this attorney at

 the address listed.


                                      Respectfully submitted,

                                      MICHAEL CARUSO
                                      FEDERAL PUBLIC DEFENDER


                                By:   s/Fletcher Peacock
                                      Fletcher Peacock
                                      Assistant Federal Public Defender
                                      Florida Bar No. 441996
                                      109 North Second Street
                                      Fort Pierce, Florida 34950
                                      Tel: 772-489-2123
                                      Fax: 772-489-3997
                                      E-Mail: Fletcher_Peacock@fd.org
Case 2:17-cr-14047-DMM Document 3 Entered on FLSD Docket 06/02/2017 Page 2 of 3




                            CERTIFICATE OF SERVICE

       I HEREBY certify that on June 2, 2017, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF.            I also certify that the

 foregoing document is being served this day on all counsel of record or pro se parties

 identified on the attached Service List in the manner specified, either via

 transmission of Notices of Electronic Filing generated by CM/ECF or in some other

 authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.



                                          By: s/Fletcher Peacock, AFPD
                                               Fletcher Peacock




                                            2
Case 2:17-cr-14047-DMM Document 3 Entered on FLSD Docket 06/02/2017 Page 3 of 3




                               SERVICE LIST

               UNITED STATES v. SCOTT JOSEPH TRADER
                             Case No. 17-60-WM
          United States District Court, Southern District of Florida



 Fletcher Peacock
 Fletcher_Peacock@fd.org
 Assistant Federal Public Defender
 109 North Second Street
 Fort Pierce, FL 34950
 Tel: 772-489-2123
 Fax: 772-489-3997
 Attorney for ****
 Notices of Electronic Filing


 Marton Gyires
 marton.gyires@usdoj.gov
 Assistant United States Attorney
 United States Attorney’s Office
 101 South U.S. Hwy 1, Suite 3100
 Fort Pierce, Florida 34950
 Tel: 772-293-0952
 Fax: 772-595-3606
 Notice of Electronic Filing




                                       3
